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 1                                                   Judge Bryan
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT TACOMA
 8   UNITED STATES OF AMERICA,        )
                                      )              NO. CR09-5452RJB
 9                   Plaintiff,       )
                                      )
10              v.                    )
                                      )
11   DOUG FELIX ALFONSO,              )
                                      )              ORDER TO SEAL
12                   Defendant.       )
     _________________________________)
13
             Having read the Government’s Sentencing Memorandum in the above-captioned
14
     case, which was filed under seal, and the Government’s Motion to Seal, requesting that
15
     the document remain under seal,
16
             It is hereby ORDERED that the Government’s Sentencing Memorandum in this
17
     matter shall remain sealed.
18
             DATED this 11th day of May, 2010.
19

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21
                                              A
                                              Robert J Bryan
22                                            United States District Judge
     Presented by:
23
      s/ Roger S. Rogoff
24   ROGER S. ROGOFF
     Washington State Bar No. 23362
25   Assistant United States Attorney
     700 Stewart Street, Suite 5220
26
     Seattle, Washington 98101-1271
27   Phone:        (206) 553-4330
     Fax:          (206) 553-4440
28   Email: Roger.Rogoff@usdoj.gov

                                                                                 UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
     Order to Seal - Page 1                                                    SEATTLE, WASHINGTON 98101-1271
     Alfonso/CR09-5452RJB                                                               (206) 553-7970
